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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

Katherine Addie,
       Plaintiff

v.                                                   Civil Case No. 1:18-CV-______

Core Physicians, LLC
d/b/a Core Physician Services
and Exeter Health Resources, Inc.,
       Defendants

      NOTICE OF FILING OF NOTICE OF REMOVAL TO PLAINTIFF’S COUNSEL

TO:     Keri J. Marshall, Esq.
        Marshall Law Office
        47 Depot Road
        East Kingston, NH 03827

        PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§1441 and 1446, Defendants,

CORE PHYSICIANS, LLC d/b/a CORE PHYSICIAN SERVICES and EXETER HEALTH

RESOURCES, INC., by and through their attorneys, JACKSON LEWIS P.C., have this day filed

in the Clerk’s Office of the United States District Court for the District of New Hampshire,

Concord, New Hampshire, a Notice of Removal of this case, as shown by copy attached, and in

accordance with the above statute, the State Court proceedings should proceed no further herein,

unless and until the case is remanded.

                                             Respectfully Submitted,
                                             CORE PHYSICIANS, LLC d/b/a
                                             CORE PHYSICIAN SERVICES and
                                             EXETER HEALTH RESOURCES, INC.,
                                             By their attorneys,
                                             JACKSON LEWIS P.C.,

Date: December 12, 2019                      By:     /s/Debra Weiss Ford
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